Mar. 21, 2017 1{GaS@vL8-24464¢RAM Doc 16-2 Filed 01/02/19 Page 4 of ated : "

 

Yamaha Motor Finance Copy

ACCOUNT #

 

 

 

 

 

 

BEVERLY R ADAMS | Dealer #

(Cardholders Name)

ee | MOTOPORT U.S.A. CORPORATION |
4 5 Ww Y l (Merchants/Dealer's Name)

 

 

 

 

 

 

 

Promotional Period:

Your Promotion Period will expire whan your Reduced Rate Until Paid in
Full Credit Plan balance is paid in full.

 

Special Payments

You are required to make monthly minimum payments of 1.94% of the
original balance of your Reduced Rate Until Paid in Full Credit Plan
purchase during tha Promatian Period. The raguiting payment amount
will be rounded to the next highest dollar. Paying thls amount will pay off
your Reduced Rate Until Pald In Full purchase In full.

 

Promotion Type:

A reduced periodic Interest rate of 10.98% APR is appliad to your
Reduced Rate Until Paid in Full Credit Plan balance during the
Promotion Period.

 

The tarms of this Sales Slip amend the Yamaha Credit Card Account
Customer Agraament (“Agreement”) with respect to this purchase.
Except ss modified by thie Saleg Slip, the tarms of the Agraement
remaln unchanged and In affect.

 

 

| acknowledge receipt of a completed copy of this Sales Slip and
the purchase of the goods and/or services described harein and
promise to pay the balance including any interest charges and
faas due in accordance wilh the terms of the Yamaha Credit Card
Account Customer Agreamant as amended by the Promotional
Credit Plan terms included on this Salas Slip, incorporated by
refarence. | understand that | am hereby granting WebBank a
purchase money security interest in the goods purchased, and in
all Insurance contracts snd proceeds, returnad premiums,
mechanical failure and extended servica cantracts, and refunds of
charges for mechanical failure and extended service contracts
financed until the Account balance or such goods are paid fn full,
whichever comes first, unless otherwise prohibited by law.

 

 

 

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PAGO

[1]8]2I0] $9,268.04

  
 

 

 

MODEL NO.

le|x{sJo]s}o[e/-[slal | {TTT |

YVINPAULUSERIAL NO.

(uls]-}¥|A|m[a]1]5|6|8]L][6| 17] | | |
(F) ALREADY ELECTRONICALLY FUNDED

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SUB TOTAL
DATE OF SALE $9,268.04
03/09/2017 wate a
SALES TAA
AUTHORIZATION $0.00
CODE (o}0}3/7] [0] ae
$9,268.04
$0.00
$9,268.04

 

SALES SLIP NO, 2309728
YDS Sales Slip - 09/16

 

es completed, mail to: Yamaha Motor Finance - Card|

 

 

 

 

 

03/21/2017 11:06AM (GMT-04:00)
